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                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


United States of America,           )
                                    )
      v.                            )                 Criminal No. 2:23-605-RMG
                                    )
John Hubert Getsinger, Jr.,         )
                                    )
             Defendant.             )                 ORDER
                                    )
____________________________________)

          This matter comes before the Court on Defendant’s motion for the early termination of his

three-year term of probation imposed by the District Court of the District of Columbia following

Defendant’s guilty plea to a misdemeanor associated with events at the Capitol on January 6, 2021.

(Dkt. No. 4); (Dkt. No. 8 at 2).1 Along with his wife, Defendant was sentenced on July 12, 2022

to 60 days incarceration, three years of probation, and $500.00 in restitution for damage to the

Capitol Building. (Dkt. No. 8 at 2) (noting Defendant further was sentenced to 100 hours of

community service and a special assessment of $10.00). Defendant completed his period of

incarceration on November 3, 2022 and thereafter commenced his three-year term of probation.

He has now served in excess of eleven months of his term of probation. On August 4, 2023,

supervision of Defendant’s probation was transferred to the District of South Carolina. (Dkt. No.

1). Defendant’s motion for the early termination of his probation was filed on August 28, 2023.

          Defendant asserts in his pro se motion that the early termination of his probation would

help his business of breeding and selling hybrid cats and would allow him to travel out of state

with his daughter, who is a senior in high school. (Dkt. No. 4). Defendant asserts in his motion



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    Defendant’s case number in the District of Columbia District Court is 21-CR-607.
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that his goal is “to get my life back as close to normal as possible” and to “keep being a productive

member of society.” (Id. at 1). The record indicates that Defendant has been in compliance with

the conditions of his probation.

        The Government has filed a memorandum in opposition to the motion, which detailed

Defendant’s conduct in breaching the Capitol’s outer doors on January 6, 2021. Despite the efforts

of the Capitol police to control the rioters, Defendant entered a sensitive area of the building

without authorization, including the office of then House Minority Leader Kevin McCarthy.

Defendant further smoked marijuana in the Capitol Rotunda. (Dkt. No. 8 at 6-11).                 The

Government argues that the termination of Defendant’s probation does not serve the interest of

justice. (Id. at 17-18).

        A District Court, in considering a motion for the early termination of probation, is

authorized to grant the motion if “such action is warranted by the conduct of the defendant and the

interest of justice.” 18 U.S.C. § 3564(c). In making that determination, a District Court must

consider the factors set forth in 18 U.S.C. § 3553(a) to the extent they are applicable to the

defendant’s situation. The § 3553(a) factors include consideration of the nature and circumstances

of the offense, the defendant’s history and characteristics, the seriousness of the offense, promotion

of respect for the law, just punishment for the offense, deterrence, protection of the public from

further crimes of the defendant, and avoiding unwarranted disparity with defendants with similar

offenses. All these factors are to be consider considering the goal of imposing a sentence which

is “sufficient, but not greater than necessary.” Id.

        The January 6, 2021 rioters succeeded in delaying the vote count for the certification of the

President of the United States by breaching the Capitol doors despite the courageous efforts of the

Capitol Police to secure the building. The unlawful entry of the rioters sent the Vice President of



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the United States, the Speaker of the House, and other members of Congress scurrying to secret

locations. That conduct alone constituted a serious federal criminal offense. Defendant’s conduct

was exacerbated by his unlawful entry into the office of then House Minority Leader McCarthy in

a sensitive part of the Capitol Building and his smoking marijuana while unlawfully being present

in the Capitol Rotunda.

       The plea agreement entered into by the Defendant and the Government and the sentence

imposed by the District Court in the District of Columbia demonstrated a firm but measured

response to Defendant’s criminal conduct. Defendant was sentenced to 60 days in prison when

the maximum sentence was one year. Instead of a longer prison term, the District Court placed

Defendant on probation for three years. This creative sentence had the obvious purpose of

avoiding over-punishment of Defendant but to use the combination of a brief period of

incarceration and a term of probation to deter Defendant in particular and others in general from

engaging in conduct that posed a serious threat to the rule of law and the orderly conducting of

American elections.

       The Court commends Defendant for being compliant with the conditions of probation, but

that is expected of every criminal defendant. If a defendant on probation has a strong reason to

travel outside the judicial district, he or she may seek authorization from the supervising probation

officer and, if unsuccessful, the District Court. The Court is informed that Defendant has to date

made no requests for authorization for out of state travel.

       The Court recognizes that the limitation of travel while a defendant is on probation can

interfere with normal vacation plans, and court supervision can be inconvenient and irritating at

times. But probation is part of the criminal sentencing scheme and is designed, at least in part, to

deter the sentenced defendant and others from engaging in future criminal conduct. Imposing



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undesirable conditions on a defendant on probation, such as a limitation on out of district travel

without authorization, can assist in persuading the defendant to avoid future violations of the

criminal laws.

       After carefully considering the full record in this matter and the standards set forth in 18

U.S.C. §§ 3553(a) and 3564(c), the Court finds that the interest of justice is not served by the early

termination of Defendant’s probation. The motion for the early termination of probation (Dkt. No.

4) is DENIED.

       AND IT IS SO ORDERED.



                                                      _s/ Richard Mark Gergel
                                                      Richard Mark Gergel
                                                      United States District Judge


October 16, 2023
Charleston, South Carolina




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